Case 1:10-cr-20763-JAL Document 9 Entered on FLSD Docket 02/13/2012 Page 1 of 11



                          UN ITED STA TES D ISTRIC T C O U RT
                          SOUTHERN DISTRICT OF FLORIDA

                               CaseNo.10-20763-CR-LENARD(s)
                                       21U.S.C.j963
                                       21U.S.C.j853
 UN ITE D STATE S O F AM ERIC A

 VS.
                                                                     Sealed
 HENRY DeJESUSLOPEZ LONDOXO,
        a/k/a isM iSangre,''
        a/k/a Stsalvador,''
        a/k/a dic arlos M ario,''
        a/k/a SiBrother,''
        a/k/a éiK rackin,''
        a/k/a ççFederico,''
 JH O N FER NA N DO G IR ALD O U SUG A,
        a/k/a Sésim on,''
        a/k/a édR evenlino,''                            FILED by        D.
                                                                          ?c.
 A RLEY USU G A T O R RE S,
        a/k/a 1607 ''
        a/k/a çssiete,''
                                                            FE8 12 2912
        a/k/a fçsam uel,''                                STEVEN K1.LARIMORE
                                                          CLERK U S DIST CT
 JOSE CARLOSLONDOMO ROBLEDO,                               s.D.offl.#.-MI
                                                                        AMI
       a/k/a u'Tito ''
       a/k/a ddW olverine,''
 CARLOSANTONIO M ORENO TUBERQUIA,
       a/k/a SsN icholas,''
 EDISO N G O M E Z M O LIN A,
       a/k/a REID octor,''
       and
 JUA N DIEG O G IR ALD O U SU G A ,
       a/k/a $6M enor,''
       a/k/a ddc am ilo,''

       D efendants.


                                SUPE RSED IN G IN D IC TM EN T

       The G rand Jury chargesthat:
Case 1:10-cr-20763-JAL Document 9 Entered on FLSD Docket 02/13/2012 Page 2 of 11



         Beginning in oraboutatleastOctober2006,the exactdate being unknown to the Grand

 Jury,and continuing untilthe date ofthis Superseding lndictment,in the country ofColombia,

 South Am ericaand elsewhere,thedefendants,

                          HENRY DeJESUSLOPEZ LONDONO,
                                   a/k/a GM iSangre,''
                                    a/k/a dssalvador,''
                                  a/k/a dçcarlosM ario,''
                                     a/k/a ddB rother,''
                                     a/k/a déK racltin,''
                                    a/k/a çsFederico,''
                          JH ON FERNANDO GIM LDO USUGA,
                                      a/k/a Gsim on,''
                                    a/k/a SçRevenlino,''
                                ARI,EY USUGA TO RRES,
                                        a/k/a :$07 ''
                                       a/k/a $$Siete,''
                                      a/k/a éssam uel,''
                          JOSE CARLOSLONDOXO ROBLEDO,
                                        a/k/a dsrrito,''
                                     a/k/a çiW olverine,''
                       CARI,OS ANTONIO M ORENO TUBERQUIA,
                                    a/k/a diNicholas,''
                               EDISON GO M EZ M OLINA,
                                   a/k/a REIDoctor,''
                                            and
                             JUAN DIEGO GIM LDO USUGA,
                                     a/k/a diM enor,''
                                     alv a dscam ilo,''
  did knowingly and intentionally combine,conspire,confederate,and agree with persons,known

  and unknown to the Grand Jury,to distribute a Schedule 11controlled substance,intending that

  such substance would be unlawfully imported into the United States,in violation of Title 21,

  United StatesCode,Section 959(a)(1);allin violation ofTitle21,United StatesCode,Section
  963.

          Pursuantto Title 21,United StatesCode,Section 960(b)(1)(B),itisfurtheralleged that
  this violation involved five (5) kilograms or more of a mixture and substance containing a
  detectable nmountofcocaine.
Case 1:10-cr-20763-JAL Document 9 Entered on FLSD Docket 02/13/2012 Page 3 of 11



                                  CRIM INAL FORFEITURE

         a.     The allegationsofthisSuperseding lndictm entare realleged and by thisreference

  fully incorporated herein forthepurposeofalleging forfeitureto the United StatesofAmerica of

  certain property in which thedefendantshave an interest.

         b.     Upon conviction of the violation alleged in this Superseding Indictment,the

  defendants shall forfeit to the United States any property constituting or derived from any

  proceeds which the defendants obtained,directly orindirectly,as the resultofsuch violations,

  and any property which the defendants used or intended to be used in any m armer or partto

  comm it or to facilitate the comm ission of such violation pursuantto Title 21,United States

  Code,Section853(a)(1)and (2).
         A11pursuantto Title 21,United StatesCode,Section 853.

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          Case 1:10-cr-20763-JAL Document   DISTRII
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                                                            Docket 02/13/2012 Page 4 of 11                                                1
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j     UNITED STATES OFAMERICA                               CASE NO.                   -         - -                                      l
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,
.    vs.                                                                                                                              l
)    HENRYDeJESUS LOPEZ LONDORO,etaI.,                      CERTIFICATE OFTRIALATTORNEY*                                              t
                     Defendants.
j                                                    l      superseding case Information:
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                      ectone)                               New Defendanqs)      Yes y                                No
                                                            NumberofNew Defendants                       6
1     y      Miami           KevWest                        Totalnumberofcounts                           1
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             luo herebycertifythat:
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                     Ihavecarefullyconsideredtheallegationsoftheindi
                                                                   ctmentthenumberofdefendants,the numberof                               .




                     Probable witnessesand the Iegalcom plexities ofthe Indictinent/lnformati
                                                                                            on attached hereto.                           ;
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j            2.      Iam Mwarethatthe informationsuppliedMn thij qtaterpentwillbe relied upon bythe Judqes ofthis
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'                    CourtInsettingtheircal
                                          endarsandschedullngcrlm lnaltrlalsunderthe mandateoftheSpeedy-TrialAct,
                    Title 28 U.S.C.Section 3161.
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             3.      lqterpreter:     (Yes9rNo)      YES
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             6.     Hasthiscase beenpreviouslyfiledinthisDistri
                                                              ctCourt? (YesorNo)                         YES                          ;.
             Ifyes:                                                                                                                   .
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             Judge: Ipnxra                                  Case No.                   4n-7n7RJ4-CtR                                  l
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Case 1:10-cr-20763-JAL Document 9 Entered on FLSD Docket 02/13/2012 Page 5 of 11
                         UNITED STATES DISTRICT COURT
                         SO UTH ERN DISTRICT O F FLO RIDA

                                    PENALTY SHEET


 Defendant'sName:HENRY DeJESUS LOPEZ LONDOXO.
                     a/k/a ''M iSanzres''a/k/a ''Salvadon''a/k/a ''CarlosM ario.''a/k/a
                    ''Brotherq''a/k/a ''K rackinq''a/k/a ''Federico''

 CaseNo: 10-20763-CR-LENARD(s)

 Count #:1

   Conspiracy to distribute tivekilogram sorm oreofcocaine intendingthatsuch cocainewillbe

   unlawfullv imported intotheUnited States

   Title21.United StatesCode.Section 963

 *M ax.penalty:      Life lm prisonment




   *ltefersonly to possible term ofincarceration,doesnotinclude possible fines,restitution,
            specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
Case 1:10-cr-20763-JAL Document 9 Entered on FLSD Docket 02/13/2012 Page 6 of 11
                         UNITED STATES DISTRICT CO URT
                         SO UTHERN DISTRICT O F FLO RIDA

                                    PEN A LTY SH EET


 Defendant's Nam e: JH O N FER N AN D O G IR AL DO U SU G A .
                    a/k/a ''Sim on.''a/k/a ''R evenlino''

Case No: 10-20763-CR-LENARD(s)

Count #:1

   Conspiracy to distribute fivekilogrnm sorm oreofcocaine intendingthatsuch cocainewillbe

   unlawfully imported intotheUnited States

   Title21.United StatesCode.Section 963

# M ax.penalty:      Lifelmprisonm ent




 *Refers only to possible term ofincarceration,does not include possible fines,restitution,
         specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
Case 1:10-cr-20763-JAL Document 9 Entered on FLSD Docket 02/13/2012 Page 7 of 11
                         UNITED STATES DISTRICT COURT
                         SO UTH ERN DISTRICT OF FLO RIDA

                                    PEN A LTY SH EET


DefendantfsNam e:ARI,EY USUGA TORRES.
                    a/k/a ''07 ''a/k/a ''Sietev''a/k/a ''Sam uel''

CaseNo: 10-20763-CR-LENARD(s)

Count #:1

  Conspiracy to distribute tivekilogram sorm ore ofcocaine intendingthatsuch cocainewillbe

  unlawfully imported intotheUnited States

  Title21.United StatesCode.Sedion 963

* M ax.penalty:     Life Im prisonm ent




 *R efers only to possible term ofincarceration,does notinclude possible fines,restitution,
          specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
Case 1:10-cr-20763-JAL Document 9 Entered on FLSD Docket 02/13/2012 Page 8 of 11
                            UNITED STATES DISTRICT COURT
                            SO UTH ERN D ISTR ICT O F FLO RID A

                                        PENA LTY SH EET


 Defendant'sName:JOSE CARLOSLONDOXO RUBLEDO.
                       a/k/a ''Tito.''a/k/a ''W olverine''

 CaseNo: 10-20763-CR-LENARD(s)

 Count #:1

   Conspiracv to distribute fivekiloRram sorm oreofcocaine intendingthatsuch cocaine willbe

   unlaw fully im ported into the U nited States

   Title21.United StatesCode.Section 963

 *M ax.penaltyi        Lifelmprisonment




  Wltefers only to possible term ofincarceration,does notinclude possible fines,restitution,
           specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
Case 1:10-cr-20763-JAL Document 9 Entered on FLSD Docket 02/13/2012 Page 9 of 11
                         UNITED STATES DISTRICT CO URT
                         SO U TH ER N D ISTR IC T O F FL O R ID A

                                    PENA LTY SH EET


Defendant'sNam e: CARLOS ANTO NIO M ORENO TUBEROUIA.
                                                   -


                  a/k/a ''N icholas''

CaseNo: 10-20763-CR-LEN ARD(s)

Count #:1

  Conspiracy to distributetive kilogramsormoreofcocaineintendingthatsuch cocainewillbe

  unlawfullv imported into theUnited States

  Title21.United StatesCode.Sedion 963

* M ax.penalty:     Life lm prisonm ent




 *Refers only to possible term ofincarceration,does notinclude possible fines,restitution,
         specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
Case 1:10-cr-20763-JAL Document 9 Entered on FLSD Docket 02/13/2012 Page 10 of 11
                           UN ITED ST ATE S D ISTR ICT CO UR T
                           SO UTH ERN DISTRICT OF FLO RIDA

                                      PENA LTY SH EET


 D efendant's N am e: ED ISO N G O M EZ M O LIN A .
                      a/k/a ''EID octor''


 CaseNo: 10-20763-CR-LENAlkD(s)

 Count #:1

   Conspiracy to distribute fivekilogram sorm ore ofcocaine intendinz thatsuch cocaine willbe

   unlawfully imported intotheUnited States

   Title 2 1.U nited States Code.Section 963

 # M ax.penalty:      Lifelmprisonment




  *R efersonly to possible term ofincarceration,doesnotinclude possible fines,restitution,
          specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
Case 1:10-cr-20763-JAL Document 9 Entered on FLSD Docket 02/13/2012 Page 11 of 11
                          UNITED STATES DISTRICT COURT
                          SO UTH ERN DISTRICT O F FLO RIDA

                                    PEN A LTY SH EET


 Defendant's Nam e: JUA N D IEG O G IR ALD O U SU G A .
                    a/k/a ''M enorq''a/k/a ''C am ilo''

 CaseNo: 10-20763-CR-LEN ARD(s)

 Count #:1

   Conspiracyto distributetivekilocram sormore ofcocaineintending thatsuch cocaine willbe

   unlawfullv imported into theUnited States

   Title21.United StatesCode.Section 963

 # M ax.penalty:     Life Im prisonm ent




  *R efers only to possible term of incarceration,does notinclude possible fines,restitution,
            specialassessm ents,parole term s,or forfeituresthatm ay be applicable.
